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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                                 CRIMINAL NO. 07-50097-02

 VERSUS                                                   JUDGE S. MAURICE HICKS, JR.

 VERNON CLAVILLE                                          MAGISTRATE JUDGE HORNSBY

                                  MEMORANDUM ORDER

        Before the Court is a “Motion to Exclude Interpretation Testimony of FBI Special

 Agent J.T. Coleman and any Government Agent” (Record Document 49) filed by the

 defendant, Vernon Claville (“Claville”). Claville argues that the testimony of Agent Coleman

 any other Government agent should be excluded under Daubert v. Merrell Dow

 Pharmaceuticals, Inc., 509 U.S. 579, 113 S.Ct. 2786 (1993), because they do not qualify

 as expert interpreters of “code words” contained in phone calls intercepted via a Title III

 wiretap. The Government opposed the motion, maintaining that the opinion testimony of

 Agent Coleman and other Government agents would be offered pursuant to Federal Rule

 of Evidence 701,1 not Rule 702.2 For the reasons which follow, the motion is DENIED.

        1
            Rule 701 provides:

        If the witness is not testifying as an expert, the witness' testimony in the form
        of opinions or inferences is limited to those opinions or inferences which are
        (a) rationally based on the perception of the witness, (b) helpful to a clear
        understanding of the witness' testimony or the determination of a fact in
        issue, and (c) not based on scientific, technical, or other specialized
        knowledge within the scope of Rule 702.
        2
            Rule 702 provides:

        If scientific, technical, or other specialized knowledge will assist the trier of
        fact to understand the evidence or to determine a fact in issue, a witness
        qualified as an expert by knowledge, skill, experience, training, or education,
        may testify thereto in the form of an opinion or otherwise, if (1) the testimony
        is based upon sufficient facts or data, (2) the testimony is the product of
        reliable principles and methods, and (3) the witness has applied the
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        The Fifth Circuit’s opinion in U.S. v. Miranda, 248 F.3d 434 (5th Cir. 2001) is directly

 on point. In Miranda, a FBI special agent testified at trial regarding his investigation of a

 drug conspiracy, including his translation of intercepted phone calls from Spanish to

 English. See id. at 441. The agent “identified various code words that callers had used

 and the English drug terms to which the words referred.” Id. The defense “objected [to

 such testimony] on the grounds that [the agent] was testifying as an expert.” Id. The

 district court overruled the objection and held that the agent was not testifying as an expert,

 but as a lay witness under Rule 701. See id. The district court went on to reason that even

 if the agent were testifying as an expert, “he nonetheless had ‘the necessary expertise to

 be able to give this testimony in light of his experience in the law enforcement area.’” Id.

 On appeal, the Fifth Circuit upheld that district court’s evidentiary ruling, stating:

        [The agent’s] extensive participation in the investigation of this conspiracy,
        including surveillance, undercover purchases of drugs, debriefings of
        cooperating witnesses familiar with the drug negotiations of the defendants,
        and the monitoring and translating of intercepted telephone conversations,
        allowed him to form opinions concerning the meaning of certain code words
        used in this drug ring based on his personal perceptions. We therefore hold
        that [the agent’s] testimony was admissible pursuant to Rule 701 and that the
        district court did not abuse its discretion in admitting his testimony.

 Id. (emphasis added).

        According to the Government’s opposition, Agent Coleman and other Government

 agents may offer opinion testimony regarding the contents of the intercepted phone calls.

 Such testimony is permissible under Rule 701 as long as the testimony is rationally based

 on the perception of the witness. This requirement is likely to be met, as Agent Coleman

 and other Government agents have firsthand knowledge of the contents of the intercepted



        principles and methods reliably to the facts of the case.

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 phone calls because they listened to the conversations. Yet, if the agents’ interpretation

 of the conversations goes beyond their perceptions of the phone calls in this case and is

 based on specialized knowledge and/or accumulated experience and training, the

 Government will be required to qualify the agents as experts under Rule 702.3

         Accordingly,

         IT IS ORDERED that the “Motion to Exclude Interpretation Testimony of FBI Special

 Agent J.T. Coleman and any Government Agent” (Record Document 49) filed by the

 defendant, Vernon Claville, be and is hereby DENIED.

         THUS DONE AND SIGNED in Shreveport, Louisiana on this the 1st day of April,

 2008.




         3
         Agent Coleman has been qualified as an expert witness in other criminal cases
 before this Court. See U.S. v. Ronald King, Criminal Number 06-50096-01. Thus, at this
 juncture, it appears that in light of Agent Coleman’s specialized knowledge, experience,
 and training in the law enforcement area, he could be qualified as an expert and offer
 opinions regarding “code word” interpretations. However, if the Government serves a
 Notice of Intent to call Agent Coleman as an expert witness, the defendants are free to
 challenge his expert qualifications at that time.

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